Case 2:05-CV-O231O-SHI\/|-tmp Document 21 Filed 06/24/05 Page 1 of 2 Page|D 21

 

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IN THE UNITED STATES DISTRICT coURT I“EZZ; *“
FOR THE wESTERN DISTRICT oF TENNESSEE w
wESTERN DIVISION OSJJNZh PH HJS.
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,_ J“_

MARCUS KANARD PAYNE, V¢djd#%;

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Plaintiff,
V. No. 05-2310
STATE OF TENNESSEE, et al.,

Defendants.

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ORDER

 

It is ORDERED that this matter is hereby transferred to the
Honorable Samuel H. Mays in exchange for an equivalent case. The
parties shall, On all pleadings and correspondence related to this

matter, change the judge's initials in the case number from 05-

2310-M1/P to 05-2310-Ma/P.

IT IS 50 ORDERED this fi§i day of June, 2005.

dwith

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

This document entered on the docket sheet In com llance
with F\uEe 58 and/or 79(3) FHCP on fe “é "Z 125 /

 

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

